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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:20-cv-00742-RBJ

  JAMES COREY GOODE, individually, and GOODE
  ENTERPRISE SOLUTIONS INC.

         Plaintiffs,

  v.

  GAIA, INC., JAY WEIDNER, CLIF HIGH, BENJAMIN
  ZAVODNICK, ALYSSA MONTALBANO, JIRKA
  RYSAVY, BRAD WARKINS AND KIERSTEN MEDVEDICH

         Defendants.


       PROPOSED ORDER RE: MOTION OF WITHDRAWAL AS ATTORNEY OF
                 RECORD FOR DEFENDANT JAY WEIDNER


         THE COURT, having reviewed the Motion of Withdrawal as Attorney of Records for

  Defendant Jay Weidner, and being fully advised in the premises, hereby

         ORDERS that the Motion of Withdrawal as Attorney of Records for Defendant Jay

  Weidner is GRANTED;

         ORDERS that Matthew Gardner, Esq. of Gardner Legal Services, LLC is hereby

  withdrawn as counsel of record for Defendant Jay Weidner.



  Dated this _____ day of _______________, 2023.


                                             BY THE COURT:

                                             ____________________________________
                                             District Court Judge
